Case 1:14-cv-00779-PJG ECF No. 95-2 filed 05/12/16 PageID.1508 Page 1 of 18
CaseCase
     1:14-cv-00779-PJG   ECFECF
         l:l-4-cv-00779-RSK  No. Fio,
                                 95-23?filed 05/12/16 PageID.1509 Page      2 of 18
                                          filerJ 05i0:116 PacretD,149C pacre I of 3




                        Lt'llTED STATES DISTRICT COUI{T
                    FOR TFIE V/ESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 DEBORAH K. MURPI.IY-DAVIDS ON.

              Plaintiff,                                      Case   N*.   1;14-cv-7?9

                                                              l'lon, Ray Kcnt

 KENNETH J. STOLL and
 COMFORCARI SENiOR SERVICIS-
 MI} MICHIGAN.

              Defbndants.



                                      VIRDICT        FOR1VI



 I.    Did Mr. $tall assault and bafter Ms. Davidson?

              Answer:          yft             (yes or no)

       a.     If yes,   rvas the assault and baftery the proximale cause     of damages to Ms.
              Davidson?

                        Ansiver:      /V 0            (yes or no)

       b.     If yes, rvas Mr. Stoll acting within lhe scope and course of his employment
              lvith CornForcare nt the time of the assault and battery?
                                 \1r       (

                        Ansu'er: I' . )               (ycs or no)


 2.    Did iVIr. Stoll staik Ms. Davidson?

              Ansrver:                         {yes or no)

       a"     If 1'es, rvas the stalking the proximate   callse of darnages to N,Is" Davidsan?
CaseCase
     1:14-cv-00779-PJG      ECF No. 95-2 filed 05/12/16 PageID.1510 Page 3 of 18
         1: l-4-cv-007 7g-R SK ECF No. 92 iilecl 05t02[6 pagelD,1491
                                                                     Fage 2 of 3



                        Answer:                     (yes or no)

       b.     If yes,
                    rvas Mr. Stoll acting x,ithin the course and scopc
                                                                       of his ernployment
              with ComForcarc at the time of the stalkins:

                        Ansrver:                    (yes or no)


 a
 J,    Did Mr. stoli intentionaily inflict emorional distress on Ms. Davidson?

             Ansrver                         (yes or no)

       a'    If yes, did Mr. Stoll's conduct proxirnately cause darnage to Ms. Davidson?

                        Ansrver:                    (yes or no)

       b.    If }'es, rvas Mr. stoll acting rvithin course and scope ol.his employment with
             ComForcare when he intentionally intlictecl ernotional ciistress on Ms.
             Davidson?

                        Ansrver:
                                   v/-
                                   /LJ
                                         \         (yes or no)


,
T.    If you find that Ms. Davidson suffered economic damages, rvhat is the total
      amount of such damages suflbred to date?

                    Ansrver:       S          c. c0
5,    If you find that Ms. Davidson r.vill suffer economic damages in the future, rvhat is
      the total amount of such damagcs?

                    Alswer:               O CC
6.    If you find that Ms. Davidson suffered non-economic damages, rvhat is the total
      amount of suclr darnages to datc?

                    Answer:        s j30 c7fl
      If you find that Ms. Davidson will suffer non-economic damases in the future.
Case 1:14-cv-00779-PJG ECF No. 95-2 filed 05/12/16 PageID.1511 Page 4 of 18
   Case 1:14-cv-00779-RSK ECF l.lo. 92 {ilec} 05/02/l-fi PagelD,1492 Page 3 ol3




          what is the total amount of such damaees?

                        Answer:        S OCO
 8.       If you find that Mr. Stoll stalked Mr. Davidson, is she entitled to ex*rnplary
          damages?

                        Answer:         1ll}   (yes or no)

                 a.     Ifyes, what is the amount of cxemplary darnages to which she is
                        e   ntitled?

                                  Answer:      n       {L,Ofr

 Dated:
Case 1:14-cv-00779-PJG ECF No. 95-2 filed 05/12/16 PageID.1512 Page 5 of 18
Case 1:14-cv-00779-PJG ECF No. 95-2 filed 05/12/16 PageID.1513 Page 6 of 18
    Case 1:14-cv-00779-RSK ECF No. 94 filed 05102/1-6 PagelD.1495 Page 1- of 1




                                LINITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION


 DEBORAH K. MURPHY-DAVIDSON,

                Plaintiff,                                          Case   No. 1:14-cv-779

 v.                                                                 Hon. Ray Kent

 KENNETH J. STOLL, et al,

                Defendants.
                                                        I


                                               JUDGMENT

                This action was tried by      a   jury with Judge Ray Kent presiding, and the jury    has


 rendered a verdict.

                IT     TS   ORDERED AND ADJUDGED:

                 l.         That plaintiff takes nothing on Count I (Assault and Battery).

                2.          That plaintiff takes nothing on Count   II (Civil Stalking).

                3.          That plaintiff is entitled to judgment on Count III (Intentional Infliction of

                            Emotional Distress) against both defendant Kenneth J. Stoll and ComForcare

                            Senior Services-Mid Michigan in the amount of $130,000.




  Dated: May 2,2016                                 /s/ Rav Kent
                                                    RAY KENT
                                                    United States Magistrate Judge
Case 1:14-cv-00779-PJG ECF No. 95-2 filed 05/12/16 PageID.1514 Page 7 of 18
     Case 1:14-cv-00779-PJG ECF No. 95-2 filed 05/12/16 PageID.1515 Page 8 of 18




         CLTENT             N.A-Fz{E:


Consent to Ca;"e
! have asked CornForcare Senior Services (hereinafter "Agency") and its employees to take care of me at nry
residence. tr understand tha€ any discussions rvith ,Agency employees regardiug this Agreement or the
development of my Care Plan are not intended to diagnose or treat me for any health condition. Ageacy and its
ernployees u'ill ioiiow any instructions for my' care giveo by my physicians and/or nurses responsible for my care
plan. tr consenr to Agency's care of me. I also acknowledge that I have not been ccnvicted of arv $iminal offense in
a$y couri of, competent jurisdiction.

E{eaith Reeords
i permit Agency and its employees to release information contained in my records, including any information
conceming: Fm-. AIDS, ARC (AIDS - related complex), substance abuse treatment or diagnosis, and
sociaVpsychological services. Said information may cnly be released to any third paJty payer, insurance agency (or'
lheir agenis respoosible for paying my expenses), any relevant health care iacility/professional. and/or any
appropriate federal or state agency for any purpose the A-eency determines to be necessary in the deiivery of irigh-
quaiify care.

!nsuranceA,iabilify
l wiil not allow any Agency empioyee to drive any of my vehicles vrithout filing a waiver slip in advance with
Agenc-v- I understand that Agency's insurance does not cover damage to my car or me while Agency's employees
ririve my vehicie. I accept frrll respousibility for zuch damage- I agree to carry a standard homeowner's insurance
noliey or sirniEar tenant's policy on the client's residence. Agency limits its liability for property loss or
clamage to ciaims {iled within thirty (30) days of occurrence. AII losses require a police report To prevent any
pote*tiai Sosses, E agree to remove all items of concern or store them in a safe place. Money or gifts rnay not be
 given directi_v to eny Agency employee.

 Agenc,v Employees
 i::aderstaod tiiz.t Agency personnei are ernployees of Agency. All scheduiiag musi go thrcugh Agency's oflice anci
 that  I rgrust requesi any changes to established schedules from Agency's ofEce- I understand &at active Agency
 errpioyees are not allowed to make private employnent arrangements with me or my family within 180 days of tbe
 discontinuation oi senices rnis5s I receive written autlorization from the Agency Director. Manager, or
 Acimidstrator. I aiso understand that empioyees who have quit or been termiaated by Agency are not aiiowed to
 n-iake pivale empioyrnent arrangements with me or my family within 180 days of their termination of em,oloyment
 unless I receive writien authorization from the Agency Director, Manager. 9p {rlrnini5fr'ator- I understand that by
  doiag so violaies this Agreement and that i wili be liable to Agency for the financiai damage caused. Sai! financial
 t'amage will be t-he greater of the averase qross revenue of the hiehest thee biiline Deriods witLinffiffi&
                                                                                  lncurs ln                        *I
  prQi:ruse to pay thrs dclouot                                          reserves           tto contnue my care ifl
  vioiate this Agreemeni, and to apply my deposit to satisfy any mpaici balance.                                              -     C';
                                                                                                                       Ciien Rorcicn;i,N<
                                                                                                                                      ldl:rl:
 Stopping Serv'ice
 if i want to stop Agency's services- i must give at least 24 hours advance notice to the ofiice. i understand that !l i
 fai,l to give sufftcieni notice or request during a shift to end my sewices (excepting situations in which Agency
 verifies ernployee iilcompetence or unsatisfactory dufy), I may be required to pay the fi.rll shift charge anci Agency
 may assess and coliect for this shift charge without my signanre on the time or flow sheets. Agency reserves rhe
 rigat to discharge my care according to my state's discharge policy or with 24 hours notice, whichever is the greater.
 Furihermore- i undersrand that Agency can stop its serv'ice without notice if Agency's manaEement determines that
 sei:vices reiated !o my care pose a sigrifi6aal risk to Agency or any of its eniproyees or ag-rts- [f services a.':
 sn'eiered by phone, iacsirnile, or electronic mail or otherw-ise supplied prior tl' the dat€ oi tb,is Agreement, the
 terms of this Agreement shall appty to all services rendered, including any services rendered prior to tbe
  executionof'rhisAgreement. fh                                           h   _r   / I
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        ComFoEe   iiaill   Cre itciriinss.   iac   {lti!   20i   li                                                   Page   I oi4
Case 1:14-cv-00779-PJG ECF No. 95-2 filed 05/12/16 PageID.1516 Page 9 of 18
Case 1:14-cv-00779-PJG ECF No. 95-2 filed 05/12/16 PageID.1517 Page 10 of 18




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                                                      Date   ,


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Case 1:14-cv-00779-PJG ECF No. 95-2 filed 05/12/16 PageID.1518 Page 11 of 18
                 Case 1:14-cv-00779-PJG ECF    No.
                                         Original     95-2 filed 05/12/16 PageID.1519 3rd
                                                  - Court                             Page      12 of 18
                                                                                          ccpy - Petitioner (pink)
                                                             1st copy - Judge/Assignment clerk (green)                             4tn copy - Return (yellow)
        Approved, SCAO
                                                             7nd copy - Respondent
             STATE OF MICHIGAN                                    PETITION FOR                                                     CASE NO.
 8th                JUDICIAL CIRCUIT                       PERSONAL PROTECTION ORDER
 Monicaim
   Court address
                                     COUNry                            (NONDOMESTTC)
                                                                                                                             -n             "1-Pri
                                                                                                                                            Court telephone no.
   639 N. State St. Stanton, Ml 48888                                                                                        (98e) 831-3520
 ,/F\                                                                                  Respondent name, address, and telephone no
 \7r i
                 and telephone no. wh           can reach petitioner




      1. The petitioner and respondent have never been husband and wife, resided in the same household together, had a child in
         common, or had a dating relationship with one another,
                                                                                                           ' '
 ,<:) - !j
 /p\.    il-r^ , |,s F^^6^6i^6,,^
                     r w>yvr ru€ht is -^I..:-^r+^ ^^-:. a
                                      required to carry    firearm in
                                                        -.'.:---   '-.;:the course
                                                                            ^^,,,^^ of his/her employment.
                                                                                    ^rhiA/h^,  ^-^r^..-^^r
                                                                                                           EUnknown.

 (9)3 a llers_L-a1g                                      other pendin      actions in this or        other couft                   the
               Case number                     Name of court and county



           b. There      lare      E-are not                                 ts entered      this or a     other court
               Case nurnber                    Name of court and county



@      a. I need a personal protection order becauser             Explain what has happened (atta,ch addirionat   sheets).                       . ,, r^l'

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                 \liapproaching or confronting me in a public place or on private
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                 .Eientering onto or remaining on propefty owned, leased, or occupied by me.
                 Elsending mail or other communications to me.
                Qcontacting me by telephone.
                -E]placing an object on or deiivering an object to properly owned, leased, or occupied by me.
                Nthreatening to kill or physically injure me.
                $purchasing or possessing a firearrn.
                 't I nihor'
                 po'Sting a message through the use of any medium of communication, including the Internet or a computer or any
                 eiectronic medium. oursuant to MCL 750.411s
z=, '\i
\!) ,ry       | request an ex parte order because immediate and irreparable injury, loss, or damage wili occur between now and a
              hearing or because notice itself will cause irreparable injury, loss, or damage before the order can be entered.

r19)   f   7. I have a next friend petitioning for me. I certify that the next friend is not disqualified by staiute and is an adult.



G\
\1il

  cc377 (3/11) PETITION FOR PERSONAL PROTECTION ORDER (NONDOMESTIC)                                                                  MCL 600.2950a, MCR 3.70s
Case 1:14-cv-00779-PJG ECF No. 95-2 filed 05/12/16 PageID.1520 Page 13 of 18
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BRIDGETTE SNYDER, Plaintiff-Appellant,                           requirements of the "shopkeeper's privilege, " an affirmative
                                                                 defense set out at Ky. Rev. Stat. Ann. fi 433.236 (West
                                                                 20t4).

KOHL'S DEPARTMENT STORES,                              INC.,            The district court held that the undisputed         facts
Defendant-Appellee.                                              established that Defendant had probable cause for detaining
                                                                 Piaintiff, and that the detention was reasonable in length
No. l4-5157                                                      and manner. The district court listed these purponedly
                                                                 undisputed facts as suppol'ting probable cause:
United States Court of Appeals, Sixth Circuit
                                                                 .   Kohl's Loss Prevention      Supen   isor Michael    Pittman
Octotrer 10, 2014
                                                                 ("Pittman") observed Snyder in a high+heft area of the store
                                                                 moving rapidly and picking up items without regald to size
     NOT RECOMMENDED FOR                       FULL-TEXT
                                                                 or pflce.
PUBLICATION
                                                                 . Based on his initial obselations and concerns, Pittnran
     ON APPEAL FROM THE IINITED                     STATES
                                                                 requested that Kohl's Loss Prevention Officer Michael Tam
DISTRICT COURT FOR THE EASTERN DISTRICT OF
                                                                 Lung ("Tam Lung") focus the store's closed circuit cameras
KENTUCKY
                                                                 on Snyder.
      BEFORE: GUY and CLAY, Circuit Judges. [*]
                                                                 . During their observations, Pittman and Tarn Lung
      CLAY, Circuit Judge.                                       observed other suspicious behavior by another patron
                                                                 consistent with being a look-out for Snyder or an
      Plaintiff Bridgette Snyder appeals from the district       accomplice.
court's grant  of sumn-rary judgrnent to Defendant Kohl's
Departrnent Stores, Inc. ("Kohl's") on her claims for false
                                                                 . Pittman and Tam Lung observed Snyder enter a fitting
irnprisonment and intentional infliction of emotional            room with a number of iterrs of clothing. And while
distless. For the reasons that follow, we AFFIRM the             Pittman did not enter the fitting room with the plaintiff, he
district court's grant of summary judgment onPlaintiffs          noted the specific htting room that was used.
claim forintentional infliction ofemotional distress, but
                                                                 . While    Snyder was inside the fitting room, Pittman
REVERSE and REMAND hel false imprisonnrent claim for
proceedings consistent with this opinion.
                                                                 overheard popping sounds which were consistent with
                                                                 security tags being removed from merchandise.
     BACKGROUND
                                                                 . Pittman and Tam Lung observed Snyder exit the titting
     Plaintiff was detained by Defendant's personnel for         roour with no merchandise in her hands. After exitinr:.
suspected shoplifting at a Georgetown, Kentucky store on         Snyder walked fast toward the store's exit.
the evening of March l,2012, but, after a thirty or forty
                                                                 . Pittman quickly checked the stall that Snyder had used but
minute detention and a strip search conducted by a Kohl's
                                                                 did not find any ofthe merchandise that had been taken into
employee at the direction of a police otficer', she was
ultimately found rrot to have taken anything. Following the      the   fitting room.
incident, she brought suit against Kohl's, the police officer,
                                                                 (R.51, Mem. Op. and Order,                Page    ID#   951-52.)
and the City of Georgetown.f&dagger;] She separately
                                                                 Additionally, the court noted ihat after Plaintiffs detention
settled her claims against the police officer and the City of
                                                                 and eventual departure, "Pittman discovered several items
Georgetown. Although the settlement eliminated the federal
                                                                 of rrerchandise several stalls from the one Snydel had used"
claims from the case, the district courl proceeded to resolve
                                                                 and that "[a]ccording to the defendant, the security tag had
Kohl's outstanding surnmary judgment motion on Plaintiffs
                                                                 been ripped off one pair of jean shorts, darnaging the
state law clainrs of false imprisonment and intentional
                                                                 shorts."     (Id at   Page   ID# 952.) The district        court
infliction   of   emotional distress. The district     court's
                                                                 acknowledged that "this additional information is not
jurisdiction was proper under 28 U.S.C. $ 1367.
                                                                 relevant to whether Kohl's had probable cause to detain
      The district coud granted summary judgment to              Snyder undel the statute,    " but nonetheless rerrarked that "it
Defendant on the false inrprisonnrent clainr after concluding
                                                                 is consistent    with the observations of Kohl's    employees"

that the undisputed facts established that Defendant rnet the    that it had previously cited as evidence ofprobable cause.
Case 1:14-cv-00779-PJG ECF No. 95-2 filed 05/12/16 PageID.1522 Page 15 of 18



(rd )                                                                 (R. 33-5, Officer Bayer's Dep. Testirnony, Page ID# 690.)

      The distlict court did not specifically identify its                   D]SCUSSION
reasons   for concluding that Plaintiffs detention was
reasonab'le in tirne and rnanner, but it did state that she                  l. Standald ofReview
"of1'ered to remove iterns of clothing in an effott to
convince Kohl's employees that she had                not   stolen
                                                                             Whether a district court properly granted summary
merchandise" and that her participation in the strip search
                                                                      judgment is a question of law that is reviewed de novo.
constituted "voluntary conduct." ( Id.atPage ID# 952-53.)             Beck-Wilson v. Principi,44l F.3d 353,359 (6th Cir. 2006).
                                                                       Judgment may only be affinned if the moving party has
      Not all of these facts are undisputed. Plaintiff testified       shown that "there is no genuine dispute as to any material
in her deposition that she left all ofthe clothes that she tlied       fact and the movant is entitled to judgment as a matter of
on in the fitting room where she tlied them on. She testified          law." Fed.R.Civ.P. 56. A genuine factual dispute exists
that she did not know that any ofthe tags were renroved.               where evidence would allow "a reasonablejury [to] return a
Plaintiff testified that sh€ did not seek to relnove her              verdict for the nonmoving party." Andersott tt. Liberty
sweatshirt in order to denlonstrate that she did not have             Lobbl', 1n6., 417 U.S. 242, 248      (1   986).
anything on her, but rather because she was getting hot.
Additionally, PlaintifTtestified that she "complied'' with the              In deciding a summary judgment motion, the evidence
officer's direction that she submit to a strip search because         "must be viewed in the light most favorable to the party
"he's a police officer." (R. 35-3, Snyder's Dep. Testimony.           opposing the motion." Matsushita Elec. hrdus. Co., Ltd. v.
at Page ID# 788.)                                                     Zenith Radio Corp., 475 U.S. 574 (1986). Likewise, "the
                                                                      burden ofestablishing the nonexistence ofa material factual
        Some additional facts not     highlighted by the district     dispute always lests with the movant." Smith v. Hudson ,
court al'e also relevant to this appeal. Filst, PlaintifT             600 F.2d 60, 65 (6th      Cir. 1979).
described her selectior.r ofclothes to try on that day in a
manner that diverges fron.r the description by Defendant and                  "[T]he substantive law will identify which facts are
the lower court.   She   testified in   her   deposition that         n.raterial, " Anderson,4'77 U.S. at248, as well the allocation
                                                                she
browsed the women's and junior's section and may have                  oftlie burden toproduce evidence, Celotexv. Catrett,4JT
looked at shoes as well. She testified that she was looking            U.S.317,322-25 (1986). Where a defendant seeks
for parlicular items: professional clothing to wear to nursing         summary judgment on an affirmative defense onwhich it
school and shorts because        it    was gerting warm.        She
                                                                      will bear the ultimate burden of proof at trial, summary
                                                                      judgrnent is ploper "'only if the record shows that [the
estirnated that she looked around for no mole than       thirty or
forty minutes. She selected approxinrately six items to try            defendant] established the defense so clearly that no
on. Plaintifftestified that she did not have a bag or a purse,         rational juty could have found to the contrary."'
and that all she had with her as she was leaving the store            Beck-Wilson,441 F.3d at 365 (quoting Buntin v. Breathitt
was her wallet, cell phone, and keys, which she was                   Cnty. Bd. o/ Educ.,   I   34 F.3d 796. 800 (6rh      Cir. I 998)).
canying in her hand. She pointed this out to rhe store
employees while she was detained in the loss prevention
                                                                               Acourt impermissibly invades the province of the
                                                                      juty it if it attempts to "resolve[]
                                                                                                         issues of credibility and
room. Georgetown Police Officer Christopher Bayer
                                                                      otlrer conflicting evidence." Regal Cinemas, Inc. v. Il&M
Mirandized her shortly after he arrived at the store. Plaintiff
                                                                      Props., 234 F.3d 1269, at *3 (6th Cir. 2000) (table
testified that the police officer directed the search after he
                                                                      disposition). See also Anderson, 377 U.S. at 249 ("aI the
l.rad been questioning her for awhile and Plaintiff "said
                                                                      summary judgment stage the judge's function is not himself
something along the lines of what now, because we had
                                                                      to weigh the evidence and determine the truth of the matter
been sitting there for a while just with no - with nothing
                                                                      but to determine whether there is a genuine issue for trial.").
happening." (ld. at Page ID# 788.) After she was strip
searched she returrred to the loss prevention room and was
                                                                              Additionally,     in reviewing            sunrmary judgment
kept there for another ten rninutes. (1d at Page ID# 789.)
                                                                      decisions this Court has observed that certain substantive
While she was there, the Kohl's employee who stopped her
                                                                      elements, like reasonableness or pfobable cause, al'e so fact
came in and said to her, "I'm sorry. I'm going to get fired."
                                                                      bound that they should normally be reserved for the jury
(1d.) She also testified tl.rat the police officer said, pelhaps
                                                                      "unless there is only one reasonable determination possible"
to make light ofthe situation, "[a]pparently, youjust looked
                                                                      based on the evideuce produced by the pafiies. Gardenhir"e
guilry." (Id. atPage ID# 790.) The police officer testified
                                                                      v,    Schubert, 205 F.3d 303, 315 (6th               Cir. 2000)          (the
that he reviewed tlre sur.,reillance video rnore fully after
                                                                      existence ofprobable cause typically presents a question for
Plaintiff was allowed to leave and stated that he did not sse
                                                                      the   jury); accord McKenzie v. Lantb ,738 F .2d I 005,              I   008
anything on the video that would have established probable
                                                                      (9th Cir. 1984) ("in a        $   1983 action the factual rnatters
cause for him to believe Plaintiff had shoplifted anything.
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underlying the judgment of reasonableness generally mean               The district court failed to comply with summaty
thatprobable cause is aquestion fol thejury"). Seealso            judgment standards in granting judgment to Defendant on
Hatch v. Durocher Dock & Dredge, Inc.,33 F.3d 545, 54'l            the basis of the "shopkeeper's privilege" aft'irmative
(6thCir. 1994) ("the question of seaman status is amixed          defense.
question of fact and law and, as such, 'fi]fleasonable
persons, applying the proper legal standard, could differ as              a. The District Court Failed to View the Evidence rn
to whether the employee was . . . [a searnan], it is a question   the Light Most Favorable to the    Plaintiff
for the jury."') (editing in original) (quoting McDerntott
                                                                         The district court adopted Defendant's version of the
Int'|, Inc. v. Wilander,498 U.S. 337, 356 (1991)); Niemi v.
                                                                  facts in determining that there was probable cause. It
NHK Spring Co., Ltd., 543 F.3d 294 (6th Cir. 2008) (the
reasonableness of efforts to maintain secrccy of a trade
                                                                  accepted Defendant'scharacterization that Plaintiff was
                                                                  "moving rapidly and picking up items without regard to size
secret "ordinarily represents a question for the jury" and
                                                                  or plice, " (R. 51. Mem. Op. and Order. Page ID# 951), and
"only   in an extreme case can what is a           'reasonable'
precaution be determined as a matter of law").                    ignored Plaintiffs testimony that she was browsing at
                                                                  Kohl's for about thirty or forty minutes, picking out clothes
      II. Analysis                                                for particular purposes. The district court credited testimony
                                                                  that Pittman heard popping noises consistent with the tags
      In light of the conflicting testimony about       factual   being removed from clothing rvhile Plaintiff was in the
matters material to whether Defendant had reason to suspect       dressing room, when Plaintiff testified that she did not
Plaintiff of shoplifting and whethel Plaintiff s detention was    know that any of the tags were removed. Additionally,
reasonable in time and manner, we conclude that the               Plaintiffs testimony that Pittman expressed concern about
decision to grant summary judgment to Defendant on the            being fired permits the inference that Pittman may have had
false imprisonment claim was improper. However, because           a nrotive to subsequently pop the tags himself and then lie
Plaintiff failed to establish that she suffered "severe"          about doing so. A jury would not have been required to
emotional distless, we affirm dismissal of the claim for          believe Pittman's testimony about the popping noises, and it
irrtentiorral infliction of emotional distless.                   was effol' for the district coult to rely on that testimony to
                                                                  buttress its probable cause finding. The district couft also
      l.   The District Court Erred in Granting Surnmary          failed to mention other evidence favorable to Plaintiff, as
Judgment on Plaintiffs Claim for False Imprisonment               discussed further below.

      Kentucky law protects a retailer and its en-rployees                b. The District Couft Improperly Shifted the Bulden
fi'om tiability for- false implisonnrent based on the detention   to   Plaintiff to Refute the Affirmative Defense
of a suspected shop'lifter if three requirements are met: (1)
the employee has "probable cause" to believe the individual               The district court rnisapprehended the application of
 shoplifting; (2) the person is detained ''in a reasonable
is                                                                summary judgment law to an affirmative defense.     It did not
manner for areasonable length of time"; and (3) the               require Defendant        to   establish each element   of   the
detention is efl'ected for one of tive legitimate purposes,       shopkeeper's privilege "so clearly that no rational juy could
such as making reasonable inquiry into whether the person         have found to the contrary ." Beck-IVilson, 441 P .3d at 365.
has unpurchased merchandise, r'ecovering those goods, or          Instead,it placed the burden orr Defendant only to establish
informing law enforcement of the detention of tl-re person.       probable cause, writing that the dispute over the prima facie
Ky. Rev. Stat. Ann. $ 433.236(1) (West 2014).                     case would "not be dispositive" ifDefendant established
                                                                  that it "had probable cause to believe that Snyder had taken
     In order to affinn the district court's grant of summary     merchandise fi'om the Georgetown store." (R. 51, Mem. Op.
judgment to Defendant based on this privilege, this Court         and Order, Page ID# 950-51.) In fact, Defendant must also
 must find that Defendant has put for-ward            evidence    have established-so clearly that no rational fact finder
 establishing each of these three elements "so clearly that no    could      disagre   e-that its   detention   of Plaintiff was
 rational juty could have found to the contrary."                 reasonable    in both time and manner, and that the detention
Beck-Wilson, 441 F.3d         at 365. Although the first          was eff-ected for one of the statutory purposes.
 requirement ofprobable cause and the second requilenrent
 that the detention be reasonable in both tirne and manner are          The district court pointed to no evidence that would
 normally questions for the jury, the Defendant rray succeed       establish the reasonableness ofDefendant's detention of
 in establishing those elements if the evidence before the         Plaintiff, concluding without explanation that "the alleged
 coult allows "only one reasonable determination."                 detentiorl was reasonable (both in length and in the manner
 Gardenhire,205 F.3d at 315 Defendant did not meet that            in which it was conducted)." (See id. at Page ID# 952.)
 burden.                                                           Instead,    it briefly rejected Plaintiffs      allegations of
                                                                   unreasonableness based on        an acceotance ofDefendant's
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velsion of the facts, inciuding Defendant's contention that           circurnstances, tiie facts available to the person detaining an
Plaintiff "offered to remove items of clothing in an effort to        individual "would walrant a person of reasonable caution in
convince Kohl's employees that she had not stolen                     the belief that confi'aband or evidence of a crime is present."
merchandise." (See id.) In fact, Plaintiff testified that she         Florida v. Harris, 133 S.Ct. 1050, 1056 (2013); seealso
only sought to remove her sweatshirt because she was hot              Mary,1611;1 ,. Pringle,540 U.S. 366,370 ("the substance of
and that she never suggested a strip search. The district             all the definitions ofprobable cause is a reasonable ground
court fudher characterized her parricipation in the strip             forbelief of guilt"). Due tothe fact-intensive nature ofthe
search as "voluntary conduct, " even though Plaintiff                 pl'obable cause inquiry, the issue typically "presents a jury
testifred that she had only allowed herself to be strip               question, unless      thele is only one             reasonable
searched in compliance     with   the   direction of the police       detern.rination." Gardenhire. 205 F.3d at 3l 5.
officerwho Mirandized her. (Sec id. atPage lD#952-53.)
Nonetheless, the district court wrote that "Kohl's agreement               Viewed in the light most favorable to Plaintifi the
and participation   in this voluntary conduct by Snyder       does    evidence relevant to probable cause that would have been
not render its actionsunreasonable." (Id.)           ln   requiling   available to Defendant's employees when they stopped her
Plaintiff to show the unreasotrableness         of   Defendant's      includes that she was shopping in Kohl's for thitty or forty
conduct, the court  impenrissibly shifted the burden to her           minutes; that she selected about six items to try on,
to refute the affirmative defense. In doing so, it violated           including ablazer and jean shorts; and that when she left
both summary judgment procedure requiring the rnoving                 the fitting room the only iterns she was carrying were her
party toestablish theabsence ofdispute as to agenuine                 phone, wallet and keys. It is undisputed that she was
issue ofmaterial fact, and the underlying substantive 1aw             wearing a sweatshirt, but it is nonetheless difficult to
that places the burden of proving an affirmative defense on           imagine how Kohl's ernployees, if they were persons of
thedefendant. See Fed. R. Civ. P. 56;' Beck-Wilson, 441               reasonable caution, could have believed that she was
F.3d at 365. There is no evidence that the district court             carrying out of the store all six items (since Pittman clairns
considered the sufficiency of Defendant's affirrnative                none were in her fitting room) under her sweatshirt.
showing with regard to reasonableness.                                Additionally, even if Defendant's (and the district couft's)
                                                                      velsion ofthe facts u,ere undisputed, their description does
     Finally, there is no evidence that the district court            not rise to the level ofindisputable probable cause that has
considered whether  Plaintit'fs detention was eff-ected for           previously supported judgment as a matter of law under Ky.
one of the statutory purposes. Even if the detention fell             Rev. Stat. Ann. $ 433.236 (West 2014). Compare Messer y.
within one of those categories, however, the disputes of fact         Robinsort,250 S.W.3d 344,346-47 (Ky. Ct. App.2008)
as to probable cause and reasonableness prechrde summary              ("objective probable cause to stop Robinson" existed when
judgment.                                                             "the seculity alal'm sounded as she passed through the
                                                                      security device") (ordering directed verdict for defendants);
      c. Summary Judgment was Improper on the Record in               Ta1'lo, llrrftrores, Inc. v. Story;760 S.W.2d 102, 103 (Ky.
this Case                                                                        ,l988)
                                                                      Ct. App.          (plaintiff was observed placing two items in
                                                                      her purse) (ordering entry       of   judgment    in favor   of
      When summary judgment standards are corlectly                   def'endant); Pewtington v. Dollar Tree Store.s, Inc., 28
applied to the evidence befbre the district court in this case,
                                                                      F.App'x 482 (6th Cir. 2002) (where Plaintiff had stipulated
it is clear that the Defendant is not entitled to judgment as a       that employees had probable cause in lelated criminal plea
matter of law.
                                                                      deal, that stipulation was conclusive as to probable cause tn
                                                                      the civil case) (affirming sumnrary judgment).
      Defendant has failed to establish the existence of
probable cause "so clearly that no rational jury could have
                                                                            Defendant's case faces additional trouble        on    the
found to tlre contrary." Beck-Ililson,441 F.3d at 365. In its
                                                                      reasonableness prong. Viewed in the light most favorable to
single decision interpreting Ky. Rev. Stat. Arrn. 5 433.236
                                                                      Plaintiff, the evidence establishes that upon being taken to
(West 2014), the Kentucky Suprerre Court did not                      the back room she informed the store employees that the
articulate a standard for probable cause, though it held that
                                                                      only items she had were her phone, wallet, and keys; that
the evidence permitted a linding of plobable cause in that
                                                                      during her detention no employee rerurned to the fitting
case. See Consol.     Sales Co. v. Malone, 530 S.W.2d 680,            roorn to verify whether there had been a mistake; that a
682 (Ky. 1975) (jury could have foundprobable cause                   Kohl's ernployee par-ticipated in a strip search of Plaintiff;
where the store employee obselved the plaintiff repeatedly
                                                                      and that she was detained for thirly or forfy minutes. In
carry itetr-rs fi'orn the baby depaftment to where another
                                                                      Birdsongv. Wal-Mart Stores, Inc..74 S.W.3d 754 (Ky. Ct.
plaintiffwas shopping in the shoe department, and ernerge
                                                                      App.200l), theKentucky Court of Appeals overturned a
without the iterns, and the items were not found in the shoe
                                                                      grant of sulnmary judgment 0n the shopkeeper's privilege as
department). Under the federal Constitution, plobable cause
                                                                      inappropriate where the plaintiff "claim[ed] she was
is found whele,         considering      the totality of        the   detained by store employees for approximately 45 minutes"
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and "that she was subjected to   humiliation" by being made         [&dagger;] Plaintiff originally filed suit in state court All
to sit on a bench near the front ofthe store with a shopping        Defendants removed to the United States District Court for
cart pushed in fi'ont ofher to block her from leaving. /d. at       the Eastern District of Kentucky, invoking federal question
758. In the case atbar, theamount of time Plaintiff was             removal jurisdiction under 28 U.S.C. $$ l33l and l44l(b)
detained is only sotnewhat less than the forty-five minutes         (20 1 2) based on the $ I 983 claim Plaintiff brought against

at issuein Birdsong,but the strip search she was subjected          the povernment defendants.
to could reasonably be found tnore humiliating tltan
Birdsong's expet'ience of being made to wait at the front of
the store. See   id

        2. Summary Judgment on           Plaintiffs Claim    for
Intentional lnfliction of Ernotional Distress was Properly
Granted

     Summary judgment on Snyder's intentional infliction
of emotional distress clairn was properly granted. Under
Kentucky law, "one who        by   extreme and outrageous
conduct intentionally or recklessly causes severe emotional
distress to another is subject to liability for such emotional
distressf.]" Crq/tv. Rice,67l S.W.2d 247,251 (Ky. 1984)
(quoting and adopting Restatement (Second) of Torts $ 46
(1965). To sustain this claim Plaintiff must establish,       as

one of the necessary elements, that      shesuffered "severe"
emotional distress. In contrast to the  eletnents  ofprobable
cause or reasonableness  in regard to the  false imprisonment
claim above, the essentially factual question of whether the
Plaintiffsuffered "severe" emotional distress is subject to
gatekeeping by the court, which nrust deternrine "whether
on the evidence severe elrlotional distress can be found"
before the jury may detennine "whether, on the evidence, it
has in factexisted." Restatement (Second) of Torts $ 46,
 cmt.   j   (1965). Snyder claimed that she is embarrassed
 because     of her detention and that she no longer feels
 comfortable shopping. Snyder's embarrasslnent and
 discomfort do not rise to the level of severe emotional
 distress required to submit her clainr to the jury. See Wells
 v. Hr.ish Detergents, Inc., 19 F.App'x 168, 179 (6th Cir.
 2001); Bemingfield v. Pettit Ettvtl.,   Inc.,t83   S.W.3d 567,
 572 (Ky. Ct. App. 2005).

        CONCLUSION

       For the lbregoing reasons, we REVERSE the entry of
 judgnrent for Def-endant on the false imprisonrrrent claim
  and REMAND the case for further proceedings consistent
 with this opinion. We AFFIRM the grant of              sumrnary
 judgment to Defendant on Plaintiffs clair.r-r for intentional
  infliction of ernotional distt'ess.




 Notes:


 [*] After this appeal   was subnritted    on the briefs, Judge
 Helene N. Whitelecused herselfbecause              of apotential
 conflict of interest.
